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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


     LYNN ALLEN JOHNSON, an individual,                       MEMORANDUM DECISION AND
                                                              ORDER DEEMING MOOT
                               Plaintiff,                     DEFENDANT’S SHORT FORM
     v.                                                       DISCOVERY MOTION

     USANA HEALTH SCIENCES INC., a Utah                       Case No. 2:17-cv-00652-RJS-DBP
     corporation,
                                                              District Judge Robert J. Shelby
                               Defendant.
                                                              Magistrate Judge Dustin B. Pead

            This matter is before the court on Defendant USANA Health Sciences Inc.’s Short Form

 Discovery Motion. 1 (ECF No. 123.) USANA seeks an order “compelling Plaintiff Lynn Allen

 Johnson to respond to USANA’s Request for Production of Facebook Messages.” Mtn p. 1. On

 June 17, 2020, the court entered an order requiring USANA to redraft the first discovery request

 seeking Facebook Messages “to narrow the scope of those items that are relevant to this case.”

 June 17, 2020 Order p. 3, ECF No. 121. USANA’s new discovery request is the subject of the

 instant motion. The court finds the motion now moot given Plaintiff’s response. 2

            USANA seeks the contents of Plaintiff’s social media accounts, including

 correspondence through Facebook Messages, from January 2011 to December 2012. USANA’s

 original discovery request states:

            REQUEST FOR PRODUCTION NO. 16: Produce the contents of all social
            media accounts owned, created, maintained, or controlled by you from January
            2011 to December 2012, including without limitation, any blogs in which you
            appear or otherwise participated, and your Facebook, Instagram, LinkedIn, and
            Twitter accounts.

 1
  This case was referred to the undersigned from Judge Robert Shelby pursuant to 28 U.S.C. § 636 (b)(1)(A). (ECF
 No. 24.), (ECF No. 81.)
 2
     The court decides this motion on the basis of the written memoranda of the parties. DUCivR 7-1(f).
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        Def.’s Short Form Mtn. Ex. B, ECF No. 99-2. USANA’s redrafted request for Facebook

 Messages provides:

        REQUEST FOR PRODUCTION NO. 16 (REDRAFT PURSUANT TO COURT
        ORDER):
        Produce all your Facebook messages from January 1, 2011 to December 31, 2012,
        that mention, relate to, or are regarding: (1) USANA including without limitation
        its products and services; (2) Ariix including without limitation its products and
        services; (3) any other direct sales or network marketing company; or (4) Fred
        Cooper, Mark Wilson, Fred Yates, Ray Strand, Tim Sales, or any other person
        that was or currently is associated with Ariix.

 Mtn. Ex. A, ECF No. 123-1.

        Plaintiff argues “USANA’s second attempt at the request did not narrow its request in

 any material respect ….” Op. p. 1. The court disagrees. The plain language of the request limits

 the search for messages relating to USANA, Ariix, other “direct sales or network marketing

 company[ies]”, and certain individuals associated with Ariix. The revised request is more

 narrowly tailored; it does not seek “personal communications that do not mention anything

 related to this case”, that the court found irrelevant in its prior order. (ECF No. 121 p. 3.)

        Despite its objection, however, Plaintiff continues stating that she has “painstakingly

 reviewed all of her Facebook messenger messages concerning both USANA and Ariix (including

 mentions of select persons from both companies) for an entire two-year period as requested.” Op.

 p. 1, ECF No. 124. After doing so, she produced a file “containing 630 Facebook messenger

 strings.” Id. Thus, according to Plaintiff, the motion is now moot.

        Based upon the information before the court, the court agrees with Plaintiff. She has

 produced messages from Facebook messenger that relate to this case. If Defendant seeks further



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 responses, Defendant may choose to employ a data discovery firm such as Xact Data Discovery.

 But prior to doing so, Defendant must show good cause for using such a firm, and it will be at

 Defendant’s expense.

        Accordingly, Defendant’s Short Form Discovery Motion is deemed MOOT as Plaintiff

 has complied with the request.

        IT IS SO ORDERED.



                 DATED this 18 September 2020.




                                              Dustin B. Pead
                                              United States Magistrate Judge




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